             Case 21-50337-SCS                              Doc 27             Filed 05/22/21 Entered 05/22/21 16:46:43                                                             Desc Main
                                                                              Document      Page 1 of 18


  Debtor 1                     Donna                                                Darnley
                               First Name                  Middle Name             Last Name

  Debtor 2
  (Spouse, if filing)          First Name                  Middle Name              Last Name

  United States Bankruptcy Court for the :                                  Eastern District of Virginia
                                                                                                                                                                       GZI   Check if this is an
  Case number                                                                                                                                                                amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                                    12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.


              Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1.   Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
      D No. Go to Part 2.
      GZI Yes. Where is the property?
      1 .1     609 Todd Trail                                          What is the property? Check all that apply.                             Do not deduct secured claims or exemptions. Put the
              Street address, if available, or other                   D Single-family home                                                    amount of any secured claims on Schedule D: Creditors
              description                                                                                                                      Who Have Claims Secured by Property.
                                                                       D Duplex or multi-unit building
                                                                       !ill Condominium or cooperative                                       Current value of the              Current value of the
                                                                       D Manufactured or mobile home                                         entire property?                  portion you own?

              Newport News, VA 23602                                   Oland                                                                              $140,000.00                      $140,000.00
              City               State                   ZIP Code      D Investment property                                                 Describe the nature of your ownership interest
                                                                       D Timeshare                                                           (such as fee simple, tenancy by the entireties, or
                                                                       D Other _ _ _ _ _ _ _ _ _ __                                          a life estate), if known.
              County
                                                                       Who has an interest in the property? Check one.
                                                                                                                                              Fee Simple
                                                                       liZI Debtor 1 only
                                                                       0    Debtor 2 only
                                                                                                                                              D Check if this is community property
                                                                       D Debtor 1 and Debtor 2 only                                              (see instructions)
                                                                       0    At least one of the debtors and another

                                                                                                                                                                        ➔ l----'-$_14_0"""',_oo_o_.o_o_
 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
      you have attached for Part 1. Write that number here........................................................................................................ .




Official Form 106A/B                                                                           Schedule A/B: Property                                                                          page 1
          Case 21-50337-SCS                                Doc 27             Filed 05/22/21 Entered 05/22/21 16:46:43                                                         Desc Main
                                                                             Document      Page 2 of 18
Debtor 1                 Donna                                                    Darnley                                                     Case number (if known) _ _ _ _ _ _ _ _ __
                         First Name                  Middle Name                   Last Name




             Describe Your Vehicles



Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle , also report it on Schedule G: Executory Contracts and Unexpired Leases.

 3.   Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
      ONo
      QI Yes
      3.1 Make:                                Acura                  Who has an interest in the property? Check one.                         Do not deduct secured claims or exemptions. Put the
                                                                      QI Debtor 1 only                                                        amount of any secured claims on Schedule D: Creditors
                                                                                                                                              Who Have Claims Secured by Property.
           Model:
                                                                      D Debtor 2 only
           Year:
                                               2011                   D Debtor 1 and Debtor 2 only                                          Current value of the            Current value of the
                                                                      D At least one of the debtors and another                             entire property?                portion you own?
           Approximate mileage:                70000                                                                                                         $5,725.00                    $5 725.00

           Other information:                                         D Check if this is community property
                                                                          (see instructions)


           I
4 . Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
      Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
      QINo
      OYes


                                                                                                                                                                         ➔ l----'-$5....:,_72_5_._oo_
 5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
      you have attached for Part 2. Write that number here.........................................................................................................




               Describe Your Personal and Household Items

  Do you own or have any legal or equitable interest in any of the following items?                                                                                        Current value of the
                                                                                                                                                                           portion you own?
                                                                                                                                                                           Do not deduct secured
                                                                                                                                                                           claims or exemptions.

 6.   Household goods and furnishings
      Examples: Major appliances, furniture, linens, china , kitchenware


      ~ ~;s. Describe .. ..... . Ilvng rm set, table & chairs, beds (2)                                                                                                                   $3,300.00

 7.   Electronics
      Examples: Televisions and radios ; audio, video, stereo, and digital equipment; computers , printers, scanners; music
                collections; electronic devices including cell phones, cameras , media players, games
      QI No
      D Yes. Describe ...... ..
 8. Collectibles of value
      Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                stamp, coin , or baseball card collections; other collections, memorabilia, collectibles
      QI No
      0    Yes. Describe .... ... .




Official Form 106A/B                                                                           Schedule A/B: Property                                                                     page 2
            Case 21-50337-SCS                                                  Doc 27                    Filed 05/22/21 Entered 05/22/21 16:46:43                                                                                       Desc Main
                                                                                                        Document      Page 3 of 18
Debtor 1                        Donna                                                                           Darnley                                                                            Case number (if known) _ _ _ _ _ _ _ __
                                First Name                             Middle Name                               Last Name



 9. Equipment for sports and hobbies
        Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                  and kayaks; carpentry tools; musical instruments
        6Zi No
        0    Yes. Describe ........



 10.     Fireanns
         Examples: Pistols, rifles, shotguns, ammunition, and related equipment
         6Zi No
         0    Yes. Describe ...... ..



 11 .    Clothes
         Examples: Everyday clothes, furs , leather coats, designer wear, shoes, accessories
         6Zi No
         0    Yes. Describe .. ... .. .



 12. Jewelry
         Examples: Everyday jewelry, costume jewelry, engagement rings , wedding rings, heirloom jewelry, watches, gems,
                   gold, silver
         6Zi No
         0    Yes. Describe ....... .



 13. Non-fann animals
         Examples: Dogs, cats , birds, horses
         6Zi No
         0 Yes. Describe .. ......

 14. Any other personal and household items you did not already list, including any health aids you did not list

         6Zi No
         0 Yes. Describe ....... .

 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
         for Part 3. Write that number here ... ............ .... ............... ... .. ... ... .... ........ ... ....... ................... .......... ........ ........... .. ........ .. ....... .. ➔                                     $3,300.00




               Describe Your Financial Assets

  Do you own or have any legal or equitable interest in any of the following?                                                                                                                                                        Current value of the
                                                                                                                                                                                                                                     portion you own?
                                                                                                                                                                                                                                     Do not deduct secured
                                                                                                                                                                                                                                     claims or exemptions.


 16.     Cash
         Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
                   petition
         6Zi No
         0    Yes ... .. .... .. ... ... .. ... ..... ... .... ...... ........... ..... ... ..... .... ... ... ... ........ ........ ... ... ... ........... ... ...... ..... ............. ...... ......   Cash .. ....... .. ...




Official Form 106A/B                                                                                                             Schedule A/B: Property                                                                                         page 3
        Case 21-50337-SCS                      Doc 27          Filed 05/22/21 Entered 05/22/21 16:46:43                                Desc Main
                                                              Document      Page 4 of 18
Debtor 1                  Donna                                 Darnley                                    Case number (if known) _ _ _ _ _ _ _ _ __
                          First Name      Middle Name           Last Name



 17. Deposits of money
       Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
                 and other similar institutions. If you have multiple accounts with the same institution, list each.


       ~~:s.. . . . . ... .
                                          Institution name:



       17. 1. Checking account:           Union Bank & Trust                                                      $6,529.00


       17.2. Checking account:


       17.3. Savings account:


       17.4. Savings account:


       17 .5 . Certificates of deposit:



       17 .6. Other financial account:


       17.7. 01her financial account:


       17.8. Other financial account:


       17.9. Other financial account:

 18. Bonds, mutual funds, or publicly traded stocks
       Examples: Bond funds , investment accounts with brokerage firms, money market accounts
       liZf No
       □ Yes .......... ..... .. .
       Institution or issuer name:




 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
       an LLC, partnership, and joint venture

       5Zi No
       0   Yes. Give specific
           information about
           them ..... .... .. ...... ..
       Name of entity:                                                          % of ownership:




Official Form 106A/B                                                      Schedule A/8: Property                                           page4
       Case 21-50337-SCS                                Doc 27         Filed 05/22/21 Entered 05/22/21 16:46:43                      Desc Main
                                                                      Document      Page 5 of 18
Debtor 1                   Donna                                        Darnley                            Case number (if known) _ _ _ _ _ _ _ _ __
                           First Name              Middle Name          Last Name



20. Government and corporate bonds and other negotiable and non-negotiable instruments
      Negotiable instruments include personal checks , cashiers' checks, promissory notes, and money orders.
      Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
      fi1 No
      D Yes. Give specific
            information about
            them ..... .... ....... ...

      Issuer name:




 21 . Retirement or pension accounts
      Examples: Interests in IRA, ERISA, Keogh, 401 (k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
      fi1 No
      D Yes. List each
            account separately.
      Type of account:                    Institution name:

      401 (k) or similar plan:


      Pension plan:


      IRA:


      Retirement account:


      Keogh :


      Additional account:

 22. Security deposits and prepayments
      Your share of all unused deposits you have made so that you may continue service or use from a company
      Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
      companies, or others
      fi1
       No
      DYes ........... ....... .. .
                                    Institution name or individual:

      Electric:


      Gas:


      Heating oil:



      Security deposit on rental unit:


      Prepaid rent:




Official Form 106A/B                                                              Schedule A/8: Property                                 page 5
        Case 21-50337-SCS                      Doc 27         Filed 05/22/21 Entered 05/22/21 16:46:43                               Desc Main
                                                             Document      Page 6 of 18
Debtor 1                 Donna                                   Darnley                                      Case number (if known) _ _ _ _ _ _ _ __
                         First Name       Middle Name            Last Name



       Telephone:


       Water:


       Rented furniture:


       Other:


 23. Annuities (A contract for a periodic payment of money to you , either for life or for a number of years)

       5Zi No
       OYes .................... .

       Issuer name and description :




 24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1 ), 529A(b), and 529(b)(1 ).
       ~No
       □ Yes ......... ........... .
       Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521 (c):




 25.   Trusts, equitable orfuture interests in property (other than anything listed in line 1), and rights or powers exercisable
       for your benefit

       5Zi No
       0   Yes. Give specific
           information about them ....


 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names. websites. proceeds from royalties and licensing agreements
       ill! No
       0   Yes. Give specific
           information about them ....


 27. Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings. liquor licenses.
                 professional licenses
       5Zi No
       0 Yes . Give specific
           information about them ....


Money or property owed to you?                                                                                                     Current value of the
                                                                                                                                   portion you own?
                                                                                                                                   Do not deduct secured
                                                                                                                                   claims or exemptions.




Official Form 106A/B                                                       Schedule A/B: Property                                            page 6
        Case 21-50337-SCS                          Doc 27      Filed 05/22/21 Entered 05/22/21 16:46:43                                         Desc Main
                                                              Document      Page 7 of 18
Debtor 1              Donna                                       Darnley                                        Case number (if known) _ _ _ _ _ _ _ __
                      First Name              Middle Name          Last Name



 28. Tax refunds owed to you

       621 No
       D Yes. Give specific information                                                                                Federal:
                about them , including whether
                you already filed the returns                                                                        State:
                and the tax
                years .............. ........ . .._      ____________________                                   __, Local:
                                                                                                                   I
 29.   Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

       621 No
       D Yes. Give specific                                                                                          Alimony :
                information .. ..... .. .
                                                                                                                     Maintenance:

                                                                                                                     Support:

                                                                                                                     Divorce settlement

                                                                                                                     Property settlement:


 30. Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers '
                 compensation, Social Security benefits; unpaid loans you made to someone else
       621 No
       D Yes.   Give specific
                information .. .. ... .. .



 31.   Interests in insurance policies
       Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
       621 No
       D Yes.   Name the insurance company
                of each policy and list its value ....   Company name:                                   Beneficiary:                       Surrender or refund value :




 32. Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
       property because someone has died.
       621 No
       D Yes.   Give specific
                information ... ...... .



 33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples: Accidents, employment disputes, insurance claims , or rights to sue
       liZf No
       D Yes. Describe each claim .. .. ............




Official Form 106A/B                                                        Schedule A/B: Property                                                        page 7
        Case 21-50337-SCS                                          Doc 27                Filed 05/22/21 Entered 05/22/21 16:46:43                                                                        Desc Main
                                                                                        Document      Page 8 of 18
Debtor 1                   Donna                                                               Darnley                                                               Case number (if known) _ _ _ _ _ _ _ _ __
                           First Name                       Middle Name                         Last Name



34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
       to set off claims

       621 No
       0 Yes. Describe each claim ..... .. ..... ....




35. Any financial assets you did not already list

       621 No
       0 Yes. Give specific
              information ......... .



36.    Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here ...... ......... .. ... ... ....... ... ........... ....... .. ...... ...... ........ ........ ... .. ................... .. ......... .. ...... .. .... ➔              $6,529.00



             Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37. Do you own or have any legal or equitable interest in any business-related property?
       621 No. Go to Part 6 .
       0Yes. Go to line 38.

                                                                                                                                                                                                       Current value of the
                                                                                                                                                                                                       portion you own?
                                                                                                                                                                                                       Do not deduct secured
                                                                                                                                                                                                       claims or exemptions .

 38. Accounts receivable or commissions you already earned

       621 No
       0 Yes. Describe ...... ..


 39. Office equipment, furnishings, and supplies
       Examples: Business-related computers. software, modems, printers, copiers , fax machines, rugs , telephones , desks, chairs, electronic devices

       621 No
       0 Yes. Describe ... .....


 40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       621 No
       0 Yes. Describe ....... .



 41 . Inventory

       621 No
       0 Yes. Describe ....... .



 42.   Interests in partnerships or joint ventures

       621 No
       0 Yes. Describe ..... ...

       Name of entity:                                                                                                   % of ownership:


Official Form 106A/B                                                                                         Schedule A/B: Property                                                                                page 8
         Case 21-50337-SCS                                         Doc 27              Filed 05/22/21 Entered 05/22/21 16:46:43                                                                    Desc Main
                                                                                      Document      Page 9 of 18
Debtor 1                     Donna                                                            Darnley                                                             Case number (if known) _ _ _ _ _ _ _ _ __
                             First Name                      Middle Name                       Last Name



                                                                                                                     _ _ _ _ _ _%


43. Customer lists, mailing lists, or other compilations
         i ZI
           No
         0 Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                       !iZl No
                       0 Yes. Describe .. ..... .


44. Any business-related property you did not already list

         iiZI No
         0 Yes. Give specific
           information ........ .




 45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
     for Part 5. Write that number here .......... .. ....... ........ ... ...... .. ... ......................... ... ..... ......... .. ..... ....... ........... ...... ...... .... .. ... ➔                  $0.00



                Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.
 46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
         i ZI No. Go to Part 7.
         OYes. Go to line 47.

                                                                                                                                                                                                  Current value of the
                                                                                                                                                                                                  portion you own?
                                                                                                                                                                                                  Do not deduct secured
                                                                                                                                                                                                  claims or exemptions.

 47. Farm animals
         Examples: Livestock, poultry, farm-raised fish
         i ZI No
         □ Yes ........ .... ..... ....... .


 48. Crops-either growing or harvested

         iit1 No
         0 Yes . Give specific
           information ... .... .... ..


 49.     Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

         iiZI No
         □ Yes ... .... ..... ........ .... ..



 50.     Farm and fishing supplies, chemicals, and feed

         bZl No
         □ Yes .... ....... ...... .........




Official Form 106A/B                                                                                        Schedule A/B: Property                                                                           page 9
          Case 21-50337-SCS                                          Doc 27              Filed 05/22/21 Entered 05/22/21 16:46:43                                                                               Desc Main
                                                                                        Document     Page 10 of 18
Debtor 1                     Donna                                                              Darnley                                                               Case number (if known) _ _ _ _ _ _ _ _ __
                             First Name                       Middle Name                         Last Name


 51 . Any fann- and commercial fishing-related property you did not already list

         621 No
         0    Yes. Give specific
              information ....... ......



 52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
     for Part 6. Write that number here .... .......... ... ... ............. .. ........ ..... ..... ...... .. ................ .... ... .... .. ... .... ...... .. .................. .... .... ➔                            $0.00



               Describe All Property You Own or Have an Interest in That You Did Not List Above


 53. Do you have other property of any kind you did not already list?
         Examples: Season tickets, country club membership
         621 No
         0    Yes. Give specific
              information ........... ..




 54. Add the dollar value of all of your entries from Part 7. Write that number here....... ............. ............... ... .... ........... ➔                                                                               $0.00



               List the Totals of Each Part of this Form

 55.     Part 1: Total real estate, line 2........ ........ ........................... ...... ........ ............................ ... .... .......... ..... ..... ..... ... ....... ...... .. .. . ➔                $140,000.00


 56.     Part 2: Total vehicles, line 5                                                                                      $5,725.00


 57. Part 3: Total personal and household items, line 15                                                                     $3,300.00


 58. Part 4: Total financial assets, line 36                                                                                 $6,529.00


 59. Part 5: Total business-related property, line 45                                                                               $0.00


 60. Part 6: Total fann• and fishing-related property, line 52                                                                      $0.00


 61 . Part 7: Total other property not listed, line 54                                                  +                           $0.00


 62.     Total personal property. Add lines 56 through 61 ... ... ...... . .                                               $15,554.00             I Copy perso nal property               total ➔         1•-----'$_1_5-'--
                                                                                                                                                                                                                          ,5_5_4_.0_0_




 63. Total of all property on Schedule A/8. Add line 55 + line 62 ......... ..................................... .... ........ ....... .......... ........ ............ ..                                           $155,554.00




Official Form 106A/B                                                                                           Schedule A/8: Property                                                                                    page 10
         Case 21-50337-SCS                  Doc 27       Filed 05/22/21 Entered 05/22/21 16:46:43                                Desc Main
                                                        Document     Page 11 of 18


  Debtor 1                     Donna                                 Darnley
                               First Name       Middle Name         Last Name

  Debtor 2
  (Spouse, if filing)          First Name       Middle Name        Last Name

     United States Bankruptcy Court for the:                  Eastern District of Virginia

  Case number                                                                                                                      5li   Check if this is an
  (if known)                                                                                                                             amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. l
property you listed on Schedule AIB: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is ne
out and attach to this page as many copies of Part Z: Additional Page as necessary. On the top of any additional pages, write your name and case n
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific
amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable statute
Some exemptions-such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds-may be unlimited in dollar ar
However, if you claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of
property is determined to exceed that amount, your exemption would be limited to the applicable staMory amount.

 p           Identify the Property You Claim as Exempt

        Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
 1.
        5li You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
        0   You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)


 2.     For any property you list on Schedule AIB that you claim as exempt, fill in the information below.

 Brief description of the property and line on            Current value of the      Amount of the exemption you claim          Specific laws that allow ex•
 Schedule A/B that lists this property                    portion you own
                                                          Copy the value from        Check only one box for each exemption.
                                                          Schedule AIB
 Brief description:
  609 Todd Trail Newport News, VA 23602                              $140,000.00
                                                                                     5li              $20 000.00               Va. Code Ann. § 34-4
                                                                                     0     100% of fair market value, up
 Line from                                                                                 to any applicable statutory limit
 Schedule AIB:          1. 1
 Brief description:
  2011 Acura                                                           $5 725.00
                                                                                     5li               $5,725.00               Va. Code Ann. § 34-26(8)
                                                                                     0     100% of fair market value, up
 Line from                                                                                 to any applicable statutory limit
 Schedule AIB:          3.1


 3.     Are you claiming a homestead exemption of more than $170,350?
        (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
        5li No
        0   Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
             0No
             □ Yes




Official Form 106C                                           Schedule C: The Property You Claim as Exempt
       Case 21-50337-SCS                 Doc 27     Filed 05/22/21 Entered 05/22/21 16:46:43                              Desc Main
                                                   Document     Page 12 of 18



Debtor 1               Donna                                   Darnley                                       Case number (if known) _ _ _ _ __
                       First Name        Middle Name            Last Name


           Additional Page

Brief description of the property and line on          Current value of the    Amount of the exemption you claim         Specific laws that allow ex,
Schedule A/8 that lists this property                  portion you own
                                                       Copy the value from     Check only one box for each exemption.
                                                       Schedule NB
 Brief description :
                                                                               ~               $3 300.00                Va . Code Ann.§ 34-26(4a)
 lvng rm set, table & chairs, beds (2)                             $3 300.00
                                                                               0   100% of fair market value , up
 Line from                                                                         to any applicable statutory limit
 Schedule NB:           6

 Brief description:
                                                                               ~               $5,000.00                Va. Code Ann . § 34-4
 Union Bank & Trust                                                $6 529.00
 Checking account                                                              0   100% of fair market value, up
                                                                                   to any applicable statutory limit
 Line from
 Schedule NB:           17




Official Form 106C                                       Schedule C: The Property You Claim as Exempt
        Case 21-50337-SCS                         Doc 27         Filed 05/22/21 Entered 05/22/21 16:46:43                                               Desc Main
                                                                Document     Page 13 of 18


  Debtor 1                   Donna                                      Darnley
                            First Name            Middle Name           Last Name

  Debtor 2
  (Spouse, if filing)       First Name            Middle Name           Last Name

  United States Bankruptcy Court for the:                       Eastern District of Virginia

  Case number                                                                                                                               liZl   Check if this is an
  (if known)                                                                                                                                       amended filing



Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                        12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other
party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form
106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that
are listed in Schedule D: Creditors Who Hold Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in
the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write your name and case number (if known).

            List All of Your PRIORITY Unsecured Claims

  1. ~ any creditors have priority unsecured claims against you?
     ll£I No. Go to Part 2.
      D    Yes.
  2. List all of your priority unsecured claims. If a credrtor has more than one priority unsecured claim , list the creditor separately for each claim. For each claim listed,
      identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
      possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority unsecured claims, fill out the Continuation Page of
      Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
      (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                 Total claim       Priority        Nonpriority
                                                                                                                                                   amount          amount

CJ                                                                  Last 4 digits of account number _ _ _ __
        Priority Creditor's Name
                                                                    When was the debt incurred?
        Number           Street                                     As of the date you file, the claim is: Check all that
                                                                    apply.
                                                                    D   Contingent
                                                                    D   Unliquidated
        City                              State   ZIP Code
                                                                    0     Disputed
        Who incurred the debt? Check one.
                                                                    Type of PRIORITY unsecured claim:
        D  Debtor 1 only
        D  Debtor 2 only                                            D   Domestic support obligations
        D      Debtor 1 and Debtor 2 only                           D     Taxes and certain other debts you owe the
                                                                          government
        D      At least one of the debtors and another
        D      Check if this claim is for a community debt
                                                                    0     Claims for death or person injury while you were
                                                                          intoxicated
        Is the claim subject to offset?                             D     Other. Specify
        0 No
        D    Yes




Official Form 106E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 1 of 5
          Case 21-50337-SCS                          Doc 27         Filed 05/22/21 Entered 05/22/21 16:46:43                                           Desc Main
                                                                   Document     Page 14 of 18
Debtor 1                 Donna                                          Darnley                                             Case number (if known/ _ _ _ _ _ _ _ _ __
                         First Name             Middle Name              Last Name

                 List All of Your NONPRIORITY Unsecured Claims

 3. Do any creditors have nonpriority unsecured claims against you?
      0       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      ilZI    Yes.
 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
    unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If
    more than one creditor holds a particular claim, list the other creditors in Part 3. If you have more than three nonpriority unsecured claims fill out the Continuation
    Page of Part 2.
                                                                                                                                                         Total claim

E2J       Capital One
          Nonpriority CreditMs Name
                                                                                  Last 4 digits of account number _ _ _ __
                                                                                                                                                                  $3,000.00


          PO Box 71083                                                            When was the debt incurred?
          Number       Street                                                     As of the date you file, the claim is: Check all that apply.
          Charlotte, NC 28272                                                      0      Contingent
          City                              State    ZIP Code                      0      Unliquidated
          Who incurred the debt? Check one .                                       0      Disputed
          ilZI   Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
          0      Debtor 2 only                                                     0      Student loans
          0      Debtor 1 and Debtor 2 only                                        0      Obligations arising out of a separation agreement or
          0      At least one of the debtors and another                                  divorce that you did not report as priority claims
          0      Check if this claim is for a community debt                       0      Debts to pension or profit-sharing plans, and other
                                                                                          similar debts
          Is the claim subject to offset?
          ilZI   No
                                                                                   ilZI   Other. Specify
                                                                                          Credit Card
          0      Yes
                                                                                                                                                                  $3,396.00
             Cavalry SPV, assignee of Citibank                                     Last 4 digits of account number _ _ _ __
          Nonpriority Creditor's Name
          c/o Schrier, Tolin & Wagman, LLC                                         When was the debt incurred?

             1390 Piccard Drive 315                                                As of the date you file, the claim is: Check all that apply.
          Number       Street                                                      0      Contingent
          Rockville, MD 20850                                                      0      Unliquidated
          City                              State     ZIP Code                     0      Disputed
          Who incurred the debt? Check one.                                       Type of NONPRIORITY unsecured claim:
          ilZI   Debtor 1 only                                                     0      Student loans
          0      Debtor 2 only                                                     0      Obligations arising out of a separation agreement or
          0      Debtor 1 and Debtor 2 only                                               divorce that you did not report as priority claims
          0      At least one of the debtors and another                           0      Debts to pension or profit-sharing plans, and other
          0      Check if this claim is for a community debt                              similar debts
                                                                                   ilZI   Other. Specify
          Is the claim subject to offset?
                                                                                          Collection Agency
          ilZI   No
          0      Yes

EI]          Citibank N.A.                                                         Last 4 digits of account number _ _ _ __
                                                                                                                                                                  $3,396.00
          Nonpriority Creditor's Name
          D&A Services LLC                                                        When was the debt incurred?
                                                                                   As of the date you file, the claim is: Check all that apply.
             1400 E Touhy Av Ste G2
          Number       Street                                                      0      Contingent
          Des Plaines, IL 60018                                                    0      Unliquidated
          City                              State     ZIP Code                     D      Disputed
          Who incurred the debt? Check one .                                      Type of NON PRIORITY unsecured claim:
          ilZI   Debtor 1 only                                                     0      Student loans
          0      Debtor 2 only                                                     0      Obligations arising out of a separation agreement or
          0      Debtor 1 and Debtor 2 only                                               divorce that you did not report as priority claims
          0      At least one of the debtors and another                           0      Debts to pension or profit-sharing plans, and other
          0      Check If this claim is for a community debt
                                                                                          similar debts

          Is the claim subject to offset?
                                                                                   ilZI   Other. Specify
                                                                                          Credit Card
          ilZI   No
          0      Yes




Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 2 of 5
       Case 21-50337-SCS                          Doc 27       Filed 05/22/21 Entered 05/22/21 16:46:43                                    Desc Main
                                                              Document     Page 15 of 18

Debtor 1               Donna                                       Darnley                                         Case number (if known) _ _ _ _ _ _ _ _ __
                       First Name            Middle Name           Last Name

              Your NONPRIORITY Unsecured Claims - Continuation Page

 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                    Total claim


0      Credit Control Corp                                                 Last 4 digits of account number - - - - -
                                                                                                                                                         $769.00
       Nonpriority Creditor's Name
       PO Box 120568                                                       When was the debt incurred?
       Number           Street                                             As of the date you file, the claim is: Check all that apply.
       Newport News, VA 23612                                              D     Contingent
       City                              State    ZIP Code                 0     Unliquidated
       Who incurred the debt? Check one .
                                                                           0     Disputed
       iiZI   Debtor 1 only
                                                                           Type of NONPRIORITY unsecured claim:
       0      Debtor 2 only
                                                                           0     Student loans
       0      Debtor 1 and Debtor 2 only
                                                                           0     Obligations arising out of a separation agreement or
       0      At least one of the debtors and another                            divorce that you did not report as priority claims
       0      Check if this claim is for a community debt                  0     Debts to pension or profit-sharing plans , and other
       Is the claim subject to offset?                                           similar debts

       6ZI    No                                                           6ZI   Other. Specify
                                                                                 Collection Agency
       0      Yes

0      Discover                                                            Last 4 digits of account number _ _ _ __
                                                                                                                                                         $400.00
       Nonpriority Creditor's Name
       PO Box 71084                                                        When was the debt incurred?
       Number           Street                                             As of the date you file, the claim is: Check all that apply.
       Charlotte, NC 28274                                                 0     Contingent
       City                              State    ZIP Code                 0     Unliquidated
       Who incurred the debt? Check one.
                                                                           0     Disputed
       6ZI    Debtor 1 only
                                                                           Type of NONPRIORITY unsecured claim:
       0      Debtor 2 only
                                                                           0     Student loans
       0      Debtor 1 and Debtor 2 only
                                                                           D     Obligations arising out of a separation agreement or
       0      At least one of the debtors and another                            divorce that you did not report as priority claims
       0      Check if this claim is for a community debt                  0     Debts to pension or profit-sharing plans, and other
       Is the claim subject to offset?                                           similar debts

       6ZI    No                                                           6ZI   Other. Specify
                                                                                 Credit Card
       0      Yes

0      Discover
       Nonpriority Creditor's Name
                                                                           Last 4 digits of account number _ _ _ __
                                                                                                                                                    $4,768.00


       PO Box 6103                                                         When was the debt incurred?
       Number           Street                                             As of the date you file, the claim is: Check all that apply.
       Carol Stream, IL 60197                                              0     Contingent
       City                              State    ZIP Code
                                                                           0     Unliquidated
       Who incurred the debt? Check one .
                                                                           0     Disputed
       6ZI    Debtor 1 only
                                                                           Type of NONPRIORITY unsecured claim:
       0      Debtor 2 only
                                                                           0     Student loans
       0      Debtor 1 and Debtor 2 only
                                                                           0     Obligations arising out of a separation agreement or
       0      At least one of the debtors and another                            divorce that you did not report as priority claims
       0      Check if this claim is for a community debt                  D     Debts to pension or profit-sharing plans, and other
       Is the claim subject to offset?                                           similar debts

       6ZI    No                                                           6ZI   Other. Specify
                                                                                 Credit Card
       D      Yes




Official Form 106E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           page 3 of 5
       Case 21-50337-SCS                          Doc 27       Filed 05/22/21 Entered 05/22/21 16:46:43                                     Desc Main
                                                              Document     Page 16 of 18

Debtor 1              Donna                                       Darnley                                           Case number (if known) _ _ _ _ _ _ _ _ __
                      First Name             Middle Name           Last Name

             Your NONPRIORITY Unsecured Claims • Continuation Page

 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                     Total claim


0      Henrico Doctors Hospital                                             Last 4 digits of account number _ _ _ __
                                                                                                                                                     $1,364.00
      Nonpriority Creditor's Name
       1602 Skipwith Rd                                                     When was the debt incurred?
      Number            Street                                              As of the date you file, the claim is: Check all that apply.
       Henrico, VA 23229                                                    0     Contingent
      City                               State    ZIP Code
                                                                            0     Unliquidated
      Who incurred the debt? Check one .
                                                                            0     Disputed
       6Zi    Debtor 1 only
                                                                            Type of NONPRIORITY unsecured claim:
       0      Debtor 2 only
                                                                            0     Student loans
       0      Debtor 1 and Debtor 2 only
                                                                            0     Obligations arising out of a separation agreement or
       0      At least one of the debtors and another                             divorce that you did not report as priority claims
       0      Check if this claim is for a community debt                   0     Debts to pension or profit-sharing plans, and other
      Is the claim subject to offset?                                             similar debts

       6Zi    No                                                            6Zi   Other. Specify
                                                                                  Medical Bill
       0      Yes

0      JP Morgan Chase Bank                                                 Last 4 digits of account number _ _ _ __
                                                                                                                                                      $7,741 .00

      Nonpriority Creditor's Name
                                                                            When was the debt incurred?
       MRSBPO
                                                                            As of the date you file, the claim is: Check all that apply.
       1930 Olney Av
       Number           Street                                              0     Contingent
       Cherry Hill, NJ 08003                                                0     Unliquidated
       City                              State    ZIP Code
                                                                            0     Disputed
      Who incurred the debt? Check one.
                                                                            Type of NONPRIORJTY unsecured claim:
       6Zi    Debtor 1 only
                                                                            0     Student loans
       0      Debtor 2 only
                                                                            0     Obligations arising out of a separation agreement or
       0      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims
       0      At least one of the debtors and another                       0     Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       0      Check if this claim is for a community debt
       Is the claim subject to offset?
                                                                            6Zi   Other. Specify
                                                                                  Credit Card
       6Zi    No
       0      Yes

0      Riverside Hospital Ambulance                                         Last 4 digits of account number _ _ _ __
                                                                                                                                                      unknown

       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
       500 J Clyde Morris Blvd
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
       Newport News, VA 23601                                               0     Contingent
       City                              State    ZIP Code
                                                                            0     Unliquidated
       Who incurred the debt? Check one .
                                                                            0     Disputed
       6Zi    Debtor 1 only
                                                                            Type of NONPRIORITY unsecured claim:
       0      Debtor 2 only
                                                                            0     Student loans
       0      Debtor 1 and Debtor 2 only
                                                                            0     Obligations arising out of a separation agreement or
       0      At least one of the debtors and another                             divorce that you did not report as priority claims
       0      Check if this claim is for a community debt                   0     Debts to pension or profit-sharing plans, and other
       Is the claim subject to offset?                                            similar debts

       6Zi    No
                                                                            6Zi   Other. Specify

       0      Yes




Official Form 106E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            page 4 of 5
       Case 21-50337-SCS                      Doc 27        Filed 05/22/21 Entered 05/22/21 16:46:43                                        Desc Main
                                                           Document     Page 17 of 18

Debtor 1           Donna                                        Darnley                                       Case number (if known) _ _ _ _ _ _ _ _ __
                   First Name            Middle Name             Last Name

           Add the Amounts for Each Type of Unsecured Claim

 6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
    type of unsecured claim.




                                                                                             Total claim

                   6a. Domestic support obligations                               6a.                              $0.00
 Total claims
 from Part 1       6b. Taxes and certain other debts you owe the                  6b.                              $0.00
                       government

                   6c. Claims for death or personal injury while you              6c.                              $0.00
                       were intoxicated

                   6d. Other. Add all other priority unsecured claims .           6d.   +                          $0.00
                       Write that amount here.

                   6e. Total. Add lines 6a through 6d.                            6e.
                                                                                                                    $0.00




                                                                                             Total claim


                   6f. Student loans                                              6f.                              $0.00
 Total claims
 from Part 2       6g. Obligations arising out of a separation                    6g.                              $0.00
                       agreement or divorce that you did not report
                       as priority claims

                   6h. Debts to pension or profit-sharing plans, and              6h.                              $0.00
                       other similar debts

                   6i. Other. Add all other nonpriority unsecured                 6i.    +                   $24,834.00
                       claims. Write that amount here.

                   6j. Total. Add lines 6f through 6i.                            6j.
                                                                                                               $24,834.00




Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                              page 5 of 5
       Case 21-50337-SCS                    Doc 27        Filed 05/22/21 Entered 05/22/21 16:46:43                                      Desc Main
                                                         Document     Page 18 of 18




  Debtor 1                  Donna                                Darnley
                           First Name        Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)      First Name        Middle Name        Last Name

  United States Bankruptcy Court for the:                  Eastern District of Virginia

  Case number                                                                                                                 Glf   Check if this is an
  (if known)                                                                                                                        amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                        12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money
or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both.18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?



   O Yes. Name of person _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                    Signature (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are true and correct.




    X     Isl Donna Darnley
         Donna Darnley, Debtor 1


         Date 05/2112021
                 MM/ DD/ YYYY




Official Form 106Dec                                     Declaration About an Individual Debtor's Schedules
